

People v Munoz (2025 NY Slip Op 02353)





People v Munoz


2025 NY Slip Op 02353


Decided on April 23, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 23, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

MARK C. DILLON, J.P.
FRANCESCA E. CONNOLLY
CARL J. LANDICINO
JAMES P. MCCORMACK, JJ.


2018-10752
2018-10753

[*1]The People of the State of New York, respondent,
vDanny Munoz, appellant. (Ind. Nos. 2833/16, 2834/16)


Patricia Pazner, New York, NY (Mark W. Vorkink of counsel), for appellant.
Melinda Katz, District Attorney, Kew Gardens, NY (Johnnette Traill, Nancy Fitzpatrick Talcott, and Nicholas Isaacson of counsel), for respondent.



DECISION &amp; ORDER
Appeals by the defendant from two judgments of the Supreme Court, Queens County (Michael Aloise, J.), both rendered July 24, 2018, convicting him of burglary in the second degree (three counts) under Indictment No. 2833/16, and burglary in the second degree (two counts) under Indictment No. 2834/16, upon his pleas of guilty, and imposing sentences.
ORDERED that the judgments are affirmed.
The defendant's contention that his sentences as a persistent violent felony offender (see Penal Law § 70.08) are unconstitutional in light of Erlinger v United States (602 US 821) is unpreserved for appellate review, as the defendant failed to raise a constitutional challenge before the Supreme Court (see CPL 470.05[2]; People v Rosen, 96 NY2d 329, 335; People v Locenitt, 157 AD3d 905, 907-908). We decline to review it in the exercise of our interest of justice jurisdiction (see People v Bynum, 225 AD3d 781, 781).
DILLON, J.P., CONNOLLY, LANDICINO and MCCORMACK, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








